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 7                              UNITED STATES DISTRICT COURT
 8                          CENTRAL DISTRICT OF CALIFORNIA
 9                                    SOUTHERN DIVISION
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11
      KENT SALVESON,                              )     Case No.: SACV 22-00310-CJC(ADSx)
                                                  )
12                                                )
                   Plaintiff,                     )
13                                                )
            v.                                    )
14                                                )     ORDER GRANTING DEFENDANT’S
                                                  )     MOTION TO STAY [Dkt. 31] AND
15
      HAL ROSS KESSLER,                           )     DENYING WITHOUT PREJUDICE
                                                  )     PLAINTIFF’S MOTION FOR
16                                                )     ATTORNEY’S FEES [Dkt. 25]
                   Defendant.                     )
17                                                )
                                                  )
18                                                )
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23    I.    INTRODUCTION & BACKGROUND
24

25          On February 26, 2022, Plaintiff Kent Salveson filed this action against his former
26    attorney, Defendant Hal Ross Kessler, who Plaintiff had once hired to provide tax advice.
27    (Dkt. 1 [Complaint, hereafter “Compl.”].) Plaintiff raises causes of action for breach of
28    Defendant’s duty of confidentiality and loyalty and for false light. (Id.) On April 1,

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 1    2022, Defendant moved to strike Plaintiff’s complaint pursuant to California’s anti-
 2    SLAPP statute. (Dkt. 13 [Motion to Strike].) The Court denied the motion. (Dkt. 23
 3    [Order Denying Motion to Strike, hereafter “Order”].) The Court explained that
 4    Defendant’s conduct—granting an interview (or multiple interviews) to a Variety reporter
 5    wherein the subject was Plaintiff, his former client—was not in connection with a public
 6    issue or an issue of public interest. (Id.) In his motion, Defendant argued that the
 7    relevant public issue or issue of public interest was the tragic, accidental shooting on the
 8    film set of a movie titled Rust. (Id. at 4.) Defendant urged that he was being sued
 9    unfairly for making “statements…regarding the October 21, 2021 tragic shooting and
10    killing of a cinematographer on the movie set of ‘Rust.’” (Motion to Strike at 6.) But
11    Defendant made no showing that he said anything at all about the shooting to the Variety
12    reporter. Rather, by even his own account, Defendant’s speech centered on Plaintiff’s tax
13    troubles and practices. (Order at 4-5.) Plaintiff’s connection with Rust was that his
14    daughter was one of the film’s producers. (Id.) The Court concluded:
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                    Defendant has offered no legal support for the proposition that
                    an aspect of Plaintiff’s life—his tax practices and problems—
17                  that are distinct from a matter of public interest—the Rust
18
                    shooting—become part and parcel of the matter of public
                    interest by mere virtue of Plaintiff’s familial relationship with
19                  someone tied to the matter of public interest. Under such a
20
                    proposition, there would be no logical end as to what aspects of
                    Plaintiff’s life could be categorized a matter of public interest.
21

22    (Id. at 5.)
23

24           On May 10, 2022, Defendant appealed the Court’s order denying his anti-SLAPP
25    motion. (Dkt. 24 [Notice of Appeal].) That same day, Plaintiff filed a motion for
26    attorney’s fees. (Dkt. 25 [Motion for Attorney’s Fees].) On May 18, 2022, Defendant
27    filed a motion to stay this case pending the outcome of his appeal. (Dkt. 31 [Motion to
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 1    Stay].) For the following reasons, the Court GRANTS Defendant’s motion to stay and
 2    DENIES WITHOUT PREJUDICE Plaintiff’s motion for attorney’s fees.1
 3

 4    II.    DISCUSSION
 5

 6           Although the parties neglect this important point in their briefing, it seems settled
 7    among the district courts in this state that a stay of these proceedings is mandatory. See
 8    Breazeale v. Victim Servs., Inc., 2015 WL 13687730, at *1 (N.D. Cal. Sept. 14, 2015);
 9    Liberi v. Taitz, 2011 WL 13315686, at *2 (C.D. Cal. Aug. 19, 2011) (staying case despite
10    “concern[] that California’s Anti-SLAPP statute can provide a weapon that unnecessarily
11    delays a case[.]”); In re NCAA Student-Athlete Name & Likeness Litig., 2010 WL
12    5644656, at *3 (N.D. Cal. Dec. 17, 2010) (noting that appeal of order denying anti-
13    SLAPP motion “imposes an automatic stay of all proceedings related to the issues raised
14    in its anti-SLAPP motion to strike.”); Tanedo v. E. Baton Rouge Par. Sch. Bd., 2012 WL
15    12920642, at *2 (C.D. Cal. Mar. 30, 2012); Youngevity Int’l v. Smith, 2018 WL 3426266,
16    at *1 (S.D. Cal. July 16, 2018). The Court sees no reason to stray from its sister courts on
17    this issue. Because Defendant’s anti-SLAPP motion was directed at the entirety of
18    Plaintiff’s complaint, this case must be stayed in its entirety. See In re NCAA Student-
19    Athlete Name & Likeness Litig., 2010 WL 564456 at *3 (“Because that motion addressed
20    the entirety of Keller’s original complaint, the stay encompasses proceedings and
21    discovery on Keller’s claims against EA contained therein.”)
22

23           Courts also have broad discretion to defer ruling on attorney’s fees motions
24    pending an appeal on the merits. See Freeman Inv. Mgmt. Co. v. Frank Russell Co., 2017
25    WL 11420268, at *1 (S.D. Cal. Feb. 9, 2017). When, for example, “the claim for fees
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        Having read and considered the papers presented by the parties, the Court finds this matter appropriate
28    for disposition without a hearing. See Fed. R. Civ. P. 78; Local Rule 7-15. Accordingly, the hearing set
      for June 27, 2022, at 1:30 p.m. is hereby vacated and off calendar.
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 1    involves substantial issues or is likely to be affected by the appellate decision, the district
 2    court may prefer to defer consideration of the claim for fees until after the appeal is
 3    resolved.” Fed. R. Civ. P. 58, Advisory Committee’s Note to 1993 Amendment
 4    (emphasis added). When a defendant prevails on an anti-SLAPP motion, the defendant is
 5    entitled to attorney’s fees. Cal. Code Civ. Proc. § 425.16(c)(1). When a defendant’s
 6    anti-SLAPP motion is denied, however, the plaintiff may be entitled to attorney’s fees if
 7    the motion was “frivolous or is solely intended to cause unnecessary delay.” Id. Courts
 8    sometimes rule on attorney’s fees motions made by prevailing defendants even when the
 9    plaintiff has appealed the court’s grant of the defendant’s anti-SLAPP motion. See, e.g.,
10    Smith v. Payne, 2013 WL 1615850, at *2 (N.D. Cal. Apr. 15, 2013). That makes sense,
11    because in that posture, the district court does not have to evaluate the merits of the anti-
12    SLAPP motion, given that the award of fees to prevailing defendants is mandatory
13    pursuant to California’s anti-SLAPP statute. The posture of this case is different. The
14    Court could only award Plaintiff attorney’s fees by evaluating the merits—or lack
15    thereof—of Defendant’s anti-SLAPP motion. That is precisely what Defendant’s appeal
16    asks the Ninth Circuit to do. The Court finds that it would be rather inefficient for it to
17    rule on a fees motion that is intertwined with the merits of the same anti-SLAPP motion
18    whose merits the Ninth Circuit will soon evaluate, especially when the remainder of the
19    proceedings beyond the fees motion must be stayed.
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